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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                              TRENTON DIVISION

    IN RE: JOHNSON & JOHNSON           )              MDL No. 2738
    TALCUM POWDER PRODUCTS             )
    MARKETING, SALES PRACTICES &       )
    PRODUCTS LIABILITY LITIGATION      )
                                       )
    This Document Relates to:          )
                                       )
                                       )              Civil Action Nos.
    TAMIKA CLARK,                      )              3:21-cv-11876-FLW-LHG
    DANNY DAVIS,                       )              3:21-cv-11878-FLW-LHG
    DONNA HALL,                        )              3:21-cv-11880-FLW-LHG
    SUSAN HALUZAK,                     )              3:21-cv-11874-FLW-LHG
    JANENE TOLLIS,                     )              3:21-cv-11884-FLW-LHG
    DAVID VANNESS,                     )              3:21-cv-11885-FLW-LHG
    ARCHIE WELLMAN, and                )              3:21-cv-11888-FLW-LHG
    DEBBIE WYNN,                       )              3:21-cv-11882-FLW-LHG
                                       )
          Plaintiffs,                  )               NOTICE OF PTI UNION, LLC’S
                                       )              MOTION TO RECONSIDER THE
    v.                                 )               ORDER DENYING IN PART ITS
                                       )              OMNIBUS MOTION TO DISMISS
    IMERYS TALC AMERICA, INC., et al., )                PLAINTIFFS’ SHORT FORM
                                       )              COMPLAINTS FOR FAILURE TO
          Defendants.                  )                     STATE A CLAIM
                                       )
                                       )

    TO: All Counsel of Record

    COUNSEL:

          PLEASE TAKE NOTICE that the undersigned attorneys for Defendant PTI

    Union, LLC (“Union”), hereby file its Motion to Reconsider the Order Denying in

    Part its Omnibus Motion to Dismiss Plaintiffs’ Short Form Complaints for failure to

    state a claim upon which relief may be granted.
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          Plaintiffs’ claims against Union fail for the following reasons:

              First, the Court’s Order that partially denied Union’s Omnibus
               Motion failed to consider the previous decisions of this Court
               concerning the sufficiency of identical allegations in the same
               litigation.

              Second, the Court’s order overlooks facts fatal to certain
               Plaintiffs’ Complaints by unnecessarily restricting the scope of
               materials appropriate for consideration by a court when deciding
               a Rule 12(b)(6) motion.

          The grounds for this Motion are set forth in more detail in the accompanying

    Memorandum of Law in Support of PTI Union, LLC’s Motion to Reconsider its

    Omnibus Motion to Dismiss Plaintiffs’ Complaints.

          Oral argument is requested if this motion is opposed.



    Dated: December 15, 2023                     Respectfully submitted,



                                                 /s/ Caroline M. Tinsley
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                                                 and

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                                            Attorneys for Defendant PTI Union, LLC




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                              CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on December 15, 2023, the foregoing

    was filed electronically with the Clerk of Court to be served by operation of the

    Court’s electronic filing system on all counsel of record.

                                               /s/ Janet L. Poletto
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